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 3                UNITED STATES DISTRICT COURT W.D. OF WASHINGTON AT TACOMA
 4
 5      UNITED STATES OF AMERICA,
 6                                                                Case No. CR05-5504FDB
                                 Plaintiff,
 7                                                                INITIAL ORDER RE:
                          v.                                      ALLEGATIONS OF
 8                                                                VIOLATION OF
        JOSE EUSTAS MENDOZA,                                      CONDITIONS OF
 9                                                                SUPERVISION
                                 Defendant.
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12          THIS MATTER comes on for an initial hearing on the Petition of the United States Probation
     Office alleging that the defendant has violated the conditions of supervision.
13              The plaintiff appears through Assistant United States Attorney, VINCE LOMBARDI.
14              The defendant appears personally and represented by counsel, LINDA SULLIVAN.
15              The U.S. Probation Office has filed a petition alleging violations of the terms and conditions of
16              supervision, and the defendant has been advised of the allegation(s).

17           The court finds probable cause with regard to the allegation(s) and schedules a hearing on the
            petition to be held at the time and date below set forth before Judge FRANKLIN D BURGESS:
18                             Date of hearing:      JANUARY 18, 2007
19                             Time of hearing:      10:00 A.M.
20              IT IS ORDERED that the defendant:
21              ( ) Be released on an appearance bond, subject to the terms and conditions set forth thereon.
22              (X) Be detained for failing to show that he/she will not flee or pose a danger to any other person
23                  or the community pursuant to CrR 32.1(a)(1), and CrR 46(c), to be delivered as ordered
                    by the court for further proceedings.
24           The clerks shall direct copies of this order to counsel for the United States, to counsel for the
25   defendant, the United States Marshal and to the United States Probation Office and/or Pretrial Services
     Office.
26                                                          December 21, 2006.
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28                                                          __s/ Karen L. Strombom_______________
                                                            Karen L. Strombom, U.S. Magistrate Judge

     ORDER
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